          Case 3:18-cr-02796-CAB    Document 50       Filed 08/01/19     PageID.129      Page 1 of 4
PS8C•     !                                                                                 August 1, 2019
 O5/O8)

                               UNITED STATES DISTRICT COURT
                                         FOR THE
                             SOUTHERN DISTRICT OF CALIFORNIA

                       Petition for Summons for Defendant on Pretrial Release

Name of Defendant: Juan Jose Martinez (English)                             Dkt No.: 3:18CR2796-CAB-01

Reg. No.: 69646-298

Name of Judicial Officer: The Honorable Cathy Ann Bencivengo, U.S. District Judge

Date Conditions Ordered: July 2, 2018, before the Honorable Cathy Ann Bencivengo, U.S. District Judge

Charged Offense: Title 21 U.S.C. 841 21:841(a)(1) - Possession of Methamphetamine with Intent to
Distribute

Conditions of Release: Mandatory Conditions: the defendant must not violate federal, state, or local law
during the period of release; and must cooperate in the collection of a DNA sample as authorized by 42
U.S.C. § 14135a. Standard Conditions: the defendant must appear in court as ordered and surrender as
directed to serve any sentence; not possess a firearm, destructive device, or other dangerous weapon; not
use or possess a narcotic drug or other controlled substance without a lawful medical prescription; must
not use or possess marijuana under any circumstances; report to the U.S. Pretrial Services Office (6 19-557-
573 8) on the day of the initial court appearance or within 24 hours of the defendant's release from custody,
whichever is later; must report as directed by the Pretrial Services Office and follow all directions of the
Pretrial Services Office; must advise the Court or the Pretrial Services Office in writing of: (1) the
defendant's current residence address and phone number, when first reporting to Pretrial Services; and any
new contact information, before making any changes of residence or phone number; must read this Pretrial
Release Order and the "Advice of Penalties and Sanctions" form or have them read to the defendant in the
defendant's native language; must acknowledge the defendant's understanding of all the pretrial release
conditions and the penalties and sanctions for any violations, by signing the "Advice of Penalties and
Sanctions" form; and restrict travel to San Diego County; Central District of California; do not enter
Mexico. Additional Condition: actively seek or continue full-time employment, or schooling, or a
combination of both; submit to drug/alcohol testing no more than 8 times per month and/or outpatient
substance abuse therapy and counseling, as directed by Pretrial Services Office. Testing may include urine
testing, the wearing of a patch, a remote alcohol testing system, and/or any form of prohibited substance
screening or testing. Pretrial Services need not notify the Court of test results attributed to residual
elimination; participate in the Location Monitoring Program and comply with its requirements as directed
under Home Detention: restricted to residence at all times except for Pretrial Services-approved absences
for employment; education; religious services; medical, substance abuse, or mental health treatment;
attorney visits; court appearances; Court-ordered obligations; or other activities and complete residential
drug treatment program as directed by Pretrial Services (location monitoring is suspended while in
residential treatment).
          Case 3:18-cr-02796-CAB    Document 50       Filed 08/01/19     PageID.130       Page 2 of 4
PS 8C
(O5/08)
Name of Defendant: Juan Jose Martinez                                                         August 1, 2019
Docket No.:3:1 8CR2796-CAB-0 1                                                                        Page 2

Modification: On November 9, 2018, your Honor modified the defendant's condition of pretrial release
ordering the removal of the Location Monitoring condition.

Date Released on Bond: July 5, 2018

Next Court Hearing: August 2, 2019, at 9:00 a.m. before your Honor for Sentencing with PSR.

Asst. U.S. Atty.: Carlos Arguello                  Defense Counsel: Leila Morgan (Appointed)
                  (619) 546-6684                                    (619) 234-8467

Prior Violation History: None




                                      PETITIONING THE COURT

TO SUMMON THE DEFENDANT TO APPEAR IN COURT AND ADDRESS THE
ALLEGATIONS

The Pretrial Services officer believes that the defendant has violated the following condition(s) of pretrial
release:

CONDITION(S)                                    ALLEGATION(S) OF NONCOMPLIANCE

(Standard/Special Condition)
Not use or posses a narcotic drug or other              The defendant used methamphetamine on July 21,
controlled substance without a lawful                   2019, as evidenced by his own admission.
medical prescription, not use marijuana
under any circumstances




Grounds for Revocation:

On July 2, 2018, the Court set conditions of release which include a condition the defendant not possess
or use any narcotic drug or other controlled substance without a lawful medical prescription. Further, it was
ordered the defendant enter a drug treatment program. During a post-release intake interview on July 6,
2018, the conditions of release were reviewed and the defendant acknowledged and understanding of them.
          Case 3:18-cr-02796-CAB       Document 50   Filed 08/01/19   PageID.131      Page 3 of 4
PS 8C
 O5/O8)

Name of Defendant: Juan Jose Martinez                                                     August 1, 2019
Docket No.: 3:1 8CR2796-CAB-0 1                                                                   Page 3
On July 23, 2019, the defendant submitted a urine sample which screened positive for amphetamines. On
July 31, 2019, our office spoke to the defendant regarding the positive drug screen. Mr. Martinez admitted
using methamphetamine on July 21, 2019. He reported emotional stress as his girlfriend is currently
undergoing cancer treatment and his sentencing date is approaching. Defendant reported he immediately
regretted his decision to use drugs as he had remained sober for all his pretrial supervision period and
affirmed he can abstain from any further drug use.


SUPERVISION ADJUSTMENT

Mr. Martinez' adjustment to supervision is assessed as good prior to the instant violation. He was
released on bond on July 5, 2019, and has been participating in random drug testing since his release
and all of his past urine samples were negative. He completed his drug treatment successfully, is
presently employed full-time and continues to report as directed by Pretrial Services.

Criminal computerized record checks reveal no new arrest or convictions.


RECOMMENDATION/JUSTIFICATION
Pretrial Services respectfully recommends an Order to Show Cause Hearing be held at the same time of
his Sentencing Hearing on August 2, 2019, at 9:00 a.m., before your Honor.




  I declare under penalty of perjury that the
  foregoing is true and correct.

  Executed ow August 1, 2019
                   -




   Respectfully submitted:                              Reviewed and approved:
   LORI A. GAROFALO
   CHIEF PRETRIAL SERVICES OFFICER

   by
          Eva Arevalo                                   Boris Ilic
          U.S. Pretrial Services Officer                Supervising U.S. Pretrial Services Officer
          (619) 557-7606
          Place: San Diego, California
          Case 3:18-cr-02796-CAB   Document 50     Filed 08/01/19   PageID.132     Page 4 of 4
PS 8C
 O5/O8)
Name of Defendant: Juan Jose Martinez                                                  August 1, 2019
Docket No.: 3:18CR2796-CAB-01                                                                  Page 4


THE C9XJRT ORDERS:

      ____ AGREE, schedule an Order to Show Cause Hearing at the same time of his Sentencing
           Hearing on August 2, 2019, at 9:00 a.m., so the defendant can show cause why his bond
           should not be revoked.

              Other




The Honorable Cathy Ann Bencivengo                                         Date
U.S. District Judge
